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                                                             Exhibit A to the Complaint
Location: Cleveland, OH                                                                           IP Address: 75.179.60.73
Total Works Infringed: 54                                                                         ISP: Spectrum
 Work           Info Hash                                   UTC                 Site          Published        Registered    Registration
 1              60FEB3E4F343965C4C847A6F071D77F52C61BB52          01/16/2025    Tushy         09/23/2018       11/01/2018    PA0002143415
                                                                     13:04:53
 2              42760c789df05e530c33ee99321ea23f020f1e44          01/18/2025    Blacked       10/05/2024       10/16/2024    PA0002494696
                                                                     06:12:46
 3              02792d1c4f09a8455a1c688d36585657bad6d16a          12/11/2024    Blacked       12/09/2024       12/13/2024    PA0002506321
                                                                     13:26:54
 4              ddb0bf17c197427dd020f7c5ba375f9ac56966e6          12/11/2024    Blacked       11/29/2024       12/13/2024    PA0002506313
                                                                     13:24:19
 5              d2712e38602d277959460700679d964fdba05e71          11/28/2024    Blacked       11/04/2024       11/18/2024    PA0002500995
                                                                     16:59:21
 6              5ff6e0c678aa407e522e4d1acb7e83f2f0d423df          11/16/2024    Vixen         07/05/2024       07/16/2024    PA0002480633
                                                                     12:28:03
 7              013cb157f0f42cda672bda15e0c895e3656cd43c          10/25/2024    Blacked       09/30/2024       10/16/2024    PA0002494709
                                                                     12:40:29
 8              6858f89f7c9fa86b878d7bafb26aab415084b7e6          10/25/2024    Vixen         10/18/2024       11/18/2024    PA0002500907
                                                                     12:38:40
 9              3a30951a03cd31e699feb7e0c56b73ed6bc92b45          10/17/2024    Tushy         06/30/2024       07/15/2024    PA0002480674
                                                                     12:22:19
 10             799b73ab22082321d7325321da8ae91aa4cce509          10/17/2024    TushyRaw      10/15/2024       11/18/2024    PA0002500923
                                                                     12:22:01
 11             ae67f5cb52c0ed82b74cb3ca6e4028ee51bfd7cf          10/17/2024    Blacked       08/06/2024       08/14/2024    PA0002484881
                                                                     12:21:31
 12             1c1956c9590d17c6f16ffcba8de6f745df390a2f          10/17/2024    Blacked       08/01/2024       08/14/2024    PA0002484879
                                                                     12:21:02
 13             9cd5e41b07b44372f2ae659620400f24c9d3a220          10/17/2024    Blacked       08/21/2024       09/17/2024    PA0002490358
                                                                     12:20:49
 14             efb1edb783a9df187cccb23dc4675c299fdbe437          10/17/2024    Tushy         08/25/2024       09/18/2024    PA0002490453
                                                                     12:20:32
 15             dbcc4a85e977e6febddea09e5fe012273f8a4669          10/17/2024    TushyRaw      10/08/2024       10/16/2024    PA0002494718
                                                                     12:19:25
 16             ea2c3817b99cce33999b99e6f4732c463cdc924b          10/17/2024    Blacked Raw   09/16/2024       10/16/2024    PA0002494705
                                                                     12:19:12
                          Case: 1:25-cv-00311-PAB Doc #: 1-1 Filed: 02/15/25 2 of 4. PageID #: 12

Work   Info Hash                                  UTC                 Site          Published       Registered   Registration
17     bb1f2ea4e9da59fc922078eb198bedc61c04253b         10/17/2024    Blacked Raw   09/02/2024      09/17/2024   PA0002490348
                                                           12:19:11
18     20e5d476cf6fa19c4991b3a65831010a53f8a26c         10/17/2024    Vixen         08/23/2024      09/18/2024   PA0002490435
                                                           12:19:04
19     eac78af71ded04093fd1d50774a778880d535f15         10/17/2024    Tushy         07/28/2024      08/14/2024   PA0002484831
                                                           12:19:03
20     100ad215bc9b1f19bab6e9c21020dcd28f5a9616         08/22/2024    Tushy         08/18/2024      09/18/2024   PA0002490454
                                                           16:19:40
21     2d082b7e0b54723dc76cbe4c2050829c902e64bd         08/22/2024    TushyRaw      07/23/2024      08/15/2024   PA0002484859
                                                           16:19:30
22     fb60fca8c32ed522387abebd37dd2fc638ac7421         08/22/2024    TushyRaw      08/20/2024      09/18/2024   PA0002490534
                                                           16:19:19
23     6b02d708c6c6859c5ec0bebe8a0e3f851ede4f24         08/22/2024    Blacked Raw   07/22/2024      08/14/2024   PA0002484878
                                                           16:18:03
24     645d6ad60d2cd29263480e869fc1c48447d4faac         07/11/2024    Blacked       07/07/2024      07/15/2024   PA0002480445
                                                           06:27:07
25     8969C7E45C2254213F75464AFE4AEF66D85481DA         07/11/2024    Blacked       07/02/2024      07/15/2024   PA0002480438
                                                           06:24:49
26     7DF635295F52568C1FDE4B4890265E0121F8EB0A         07/11/2024    Blacked       05/28/2024      06/18/2024   PA0002476882
                                                           06:21:59
27     f38f2ddb58292469374ed21e5ec729d923df36cf         07/10/2024    Milfy         07/03/2024      09/05/2024   PA0002491137
                                                           15:49:49
28     2c5d449ec8953d17e08ce8523daf8cca40ff743e         07/10/2024    Blacked Raw   07/08/2024      07/15/2024   PA0002480635
                                                           15:48:30
29     4a9b635e88cf5f661f7fb62e71ef445a5965ab2f         07/08/2024    TushyRaw      06/04/2024      06/18/2024   PA0002476918
                                                           01:02:11
30     ed2b51d76217068113054d2ba85d07334978216d         07/08/2024    Milfy         04/24/2024      06/24/2024   PA0002477539
                                                           01:01:37
31     60da855fcf4199aa9e85cf0f4aec9c4b0093fd3d         07/08/2024    Slayed        05/28/2024      09/05/2024   PA0002491140
                                                           01:01:16
32     2675d00c5bef8d87ab253229743f297db68b0da5         07/08/2024    Tushy         06/23/2024      07/15/2024   PA0002480666
                                                           00:57:33
33     c593d49fe2cbb2c16354843cacbe288d2527497f         07/06/2024    Tushy         05/26/2024      06/19/2024   PA0002476873
                                                           05:09:49
34     f460128c54de06134c71227b9572fd1a2661e426         07/06/2024    Tushy         06/02/2024      09/04/2024   PA0002490145
                                                           05:09:30
                          Case: 1:25-cv-00311-PAB Doc #: 1-1 Filed: 02/15/25 3 of 4. PageID #: 13

Work   Info Hash                                  UTC                 Site        Published         Registered   Registration
35     550edc5b4d6fdeba66300bba25803a0c8c887939         07/06/2024    Tushy       06/16/2024        07/15/2024   PA0002480649
                                                           05:05:14
36     AA22F2CD2ED007CE11D1639BA548C9346BDB69AE         07/06/2024    Tushy       08/14/2022        08/30/2022   PA0002367744
                                                           05:03:35
37     b836a7432fd11cb1901f13bf646d9de5e9274a53         07/05/2024    Milfy       06/05/2024        09/09/2024   PA0002492284
                                                           03:46:07
38     44EE8007D31DF8D2883B228679B50BB1595A5667         07/04/2024    Blacked     07/24/2018        09/01/2018   PA0002119589
                                                           15:53:31
39     67D95FCED9B00C108A63588568A4B4CC34737EE5         07/04/2024    Blacked     07/09/2018        08/07/2018   PA0002131818
                                                           15:53:27
40     c8ac9cd289036f63eea9f5a9037000d816280234         07/04/2024    Blacked     06/27/2024        07/15/2024   PA0002480447
                                                           15:51:41
41     94c9fee85182bdfc2b14dfffb1ea5e74734c2d07         06/28/2024    Blacked     05/23/2024        06/18/2024   PA0002476881
                                                           16:06:54
42     0b544116fd3c71c0740768325184da293a9b4a29         06/28/2024    Blacked     06/22/2024        07/15/2024   PA0002480452
                                                           16:02:26
43     e9b275d900eaa0f53af83265046bcf79d93e80f6         06/28/2024    Blacked     06/12/2024        06/18/2024   PA0002476932
                                                           16:01:49
44     cccc05c8c3cf47939e8c4b57ae7d47524fd6aee6         06/28/2024    Blacked     06/17/2024        07/15/2024   PA0002480615
                                                           16:01:47
45     5d69bc93d3a194ea942cac720eb78042798a46ff         06/28/2024    Blacked     05/13/2024        06/18/2024   PA0002476744
                                                           16:01:20
46     9FE743BAF7076C7B1416416DCB8787E922B10AE8         06/28/2024    Blacked     10/22/2018        11/25/2018   PA0002136653
                                                           15:59:28
47     189365778432d4d8f2b9e218363e360487d3a3be         06/28/2024    Blacked     06/02/2024        09/04/2024   PA0002490168
                                                           15:59:24
48     55be20a3ef1f862a4f67e3b416c273666d44c068         06/28/2024    Blacked     06/07/2024        09/04/2024   PA0002490141
                                                           15:59:20
49     A13372D383B6487823771167C3024FF64D0BAF6F         06/10/2024    Vixen       12/15/2018        01/22/2019   PA0002147905
                                                           11:30:26
50     7b6cee63cf3f15e466e85fd83cdcdc0982be6d41         06/03/2024    Milfy       05/15/2024        06/20/2024   PA0002477041
                                                           14:47:03
51     08ff3f3b797f6ac10620ade6314556bd8e21fec0         06/03/2024    Milfy       05/29/2024        09/05/2024   PA0002491135
                                                           09:56:53
52     400625A24D4B1350C5C9869DC1C9F7767C73C4D3         06/02/2024    Tushy       06/30/2018        07/26/2018   PA0002112157
                                                           12:04:10
                         Case: 1:25-cv-00311-PAB Doc #: 1-1 Filed: 02/15/25 4 of 4. PageID #: 14

Work   Info Hash                                  UTC              Site          Published         Registered   Registration
53     9E757F2B0F0628FA2CF6D14E2592E149523CF8ED         04/24/2024 Blacked       11/26/2018        12/18/2018   PA0002141922
                                                           12:55:41
54     B80966EB25CE62DA272DA719ED0EFEF0C671D237         02/23/2024 Vixen         09/06/2018        11/01/2018   PA0002143433
                                                           13:52:17
